NOT FOR PUBLICATION                                                       

                UNITED STATES DISTRICT COURT                            
                   DISTRICT OF NEW JERSEY                               


                               :                                        
INNOVATIVE SPORTS              :                                        
MANAGEMENT, INC., d/b/a/       :    Civil Action No. 19-12849 (SRC)     
INTEGRATED SPORTS MEDIA,       :                                        
                               :                                        
            Plaintiff,         :            OPINION                     
                               :                                        
    v.                         :                                        
                               :                                        
JAVIER PEREZ, Individually, and as  :                                   
officer, director, shareholder, principal,  :                           
manager and/or member of MANCORA  :                                     
LOUNGE BAR RESTAURANT LLC,     :                                        
d/b/a MANCORA LOUNGE et al.,   :                                        
                               :                                        
            Defendants.        :                                        
                               :                                        
                               :                                        

CHESLER, District Judge                                                   
   This matter comes before the Court upon the filing by Plaintiff, Innovative Sports 
Management, Inc., d/b/a Integrated Sports Media (“Plaintiff”), on a motion for default judgment. 
Defendants, Javier Perez, individually, and as officer, director, shareholder, principal, manager 
and/or member of Mancora Lounge Bar Restaurant LLC, d/b/a Mancora Lounge, and Mancora 
Lounge Bar Restaurant LLC, d/b/a Mancora Lounge (collectively, “Defendants”), did not file 
opposition.  For the reasons that follow, the Court will grant Plaintiff’s motion for default 
judgment.                                                                 
   I.   BACKGROUND                                                      
   This is a civil action wherein Plaintiff seeks the entry of default judgment against 
Defendants for copyright infringement and a violation of the Cable Communications Policy Act 
of 1984. 17 U.S.C. § 501(a); 47 U.S.C. § 605(a). The Complaint alleges the following pertinent 
facts:                                                                    
   Innovative Sports Management, Inc., is a Limited Liability Company located in New 
Jersey. Plaintiff owns the copyright of the Clasico del Pacifico: Peru vs. Chile event (the 
“Broadcast”) which aired on October 12, 2018.  Under Plaintiff’s copyright of the Broadcast, 

Plaintiff holds exclusive broadcast and commercial distribution rights.   
   The Broadcast aired on October 12, 2018. Commercial establishments and private 
residents could lawfully view the Broadcast by paying Plaintiff an appropriate licensing fee. By 
paying the commercial licensing fee, commercial entities were permitted to publicly exhibit the 
Broadcast to their patrons. The residential licensing fee was substantially less expensive than the 
commercial fee and required purchasers to agree that their viewing of the broadcast was for non-
commercial, personal use only. For customers that paid the required fees, the Broadcast was 
accessible via encrypted broadcast signal, closed circuit television, or encrypted satellite signal 
or broadband.                                                             

   This case arises from Plaintiff’s discovery that Defendants were unlawfully exhibiting the 
Broadcast at Mancora Lounge, a commercial establishment in Paterson, NJ, on October 12, 
2018.                                                                     
   The Complaint alleges that Defendants did not pay the required commercial licensing fee 
permitting Defendants to exhibit the Broadcast in a commercial establishment. Plaintiffs contend 
that Defendants obtained the Broadcast through an alternative and unauthorized means.  Through 
these actions, Plaintiff alleges that Defendants willfully violated 47 U.S.C. § 605(a). 
   Additionally, Plaintiff alleges that Defendants willfully infringed Plaintiff’s copyright 
and exclusive rights under copyright when Defendants illegally intercepted the Broadcast and 
exhibited same at Mancora Lounge, a commercial establishment, without paying the appropriate 
licensing fee to Plaintiff.                                               
   Plaintiff moves for the entry of default judgment under Count I, in violation of 47 U.S.C. 
§ 605(a), and Count III, in violation of 17 U.S.C. § 501(a).  Defendants were served with the 
Summons and a copy of the Complaint on June 14, 2019. Defendants failed to answer or 

otherwise respond to the Complaint. Upon Plaintiff’s request, The Clerk of Court entered default 
against Defendants pursuant to Federal Rule of Civil Procedure 55(a) on August 12, 2019. 
   II.  LEGAL STANDARD                                                  
   Fed. R. Civ. P. 55(b)(2) authorizes the entry of a default judgment against a party that has 
defaulted. A consequence of the entry of a default judgment is that “the factual allegations of the 
complaint, except those relating to the amount of damages, will be taken as true.” Comdyne I, 
Inc. v. Corbin, 908 F.2d 1142, 1149 (3d Cir. 1990) (quoting 10 C. Wright, A. Miller, &amp; M. Kane, 
Federal Practice and Procedure, § 2688 at 444 (2d ed. 1983)). Even so, before entering default 
judgment, the Court must first determine whether the unchallenged facts constitute a legitimate 

cause of action. Chanel, Inc. v. Gordashevsky, 558 F. Supp. 2d 532, 536 (D.N.J. 2008). 
Moreover, a party seeking default judgment pursuant to Rule 55(b)(2) must prove damages. 
Comdyne, 908 F.2d at 1149. It is well-established in the Third Circuit that “the entry of a default 
judgment is left primarily to the discretion of the district court.” Hritz v. Woma Corp., 732 F.2d 
1178, 1180 (3d Cir. 1984).                                                
   The Court will accordingly proceed to determine whether the unchallenged facts, as set 
forth in the Complaint’s allegations and in the affidavits filed in support of this motion, suffice to 
establish the causes of action pled by Plaintiff. It will then proceed to address Plaintiff’s request 
for an award of damages and attorneys’ fees and costs.                    
   III.  DISCUSSION                                                     
   The Complaint asserts three federal claims: Count I, unauthorized publication or use of 
communications, in violation of 47 U.S.C. § 605(a); Count II, unauthorized reception of cable 
service, in violation of 47 U.S.C. § 553; and Count III, copyright infringement, in violation of 17 
U.S.C. § 501(a). However, the subject motion requests the entry of default judgment under 

Counts I and III only: unauthorized publication or use of communications, in violation of 47 
U.S.C. § 605(a), and copyright infringement, in violation of 17 U.S.C. § 501(a). 
   The facts alleged in the Complaint, now taken as true, show that Plaintiff is the owner of 
the Broadcast and that the Broadcast originated via satellite uplink and was transmitted to cable 
systems and satellite companies via satellite signal.  Defendants “unlawfully intercepted, 
received and/or de-scrambled Plaintiff’s satellite signal” and exhibited the Broadcast at Mancora 
Lounge on October 12, 2018. (Compl. ¶ 22.)  Plaintiff alleges that Defendants either ordered the 
Broadcast for residential use and displayed the Broadcast in its commercial establishment, 
despite failing to pay the required commercial licensing fee, thereby making such exhibition 

unauthorized and unlawful, or obtained the Broadcast “by such other means which are unknown 
to Plaintiffs and known only to Defendants.” (Compl. ¶ 23.)               
   47 U.S.C. § 605(a) is part of the Cable Communications Policy Act of 1984. Section 
605(a) states, in relevant part:                                          
        No person not being authorized by the sender shall intercept any 
        radio communication and divulge or publish the existence,       
        contents, substance, purport, effect, or meaning of such intercepted 
        communication to any person. No person not being entitled thereto 
        shall receive or assist in receiving any interstate or foreign  
        communication by radio and use such communication (or any       
        information therein contained) for his own benefit or for the   
        benefit of another not entitled thereto. No person having received 
        any intercepted radio communication or having become acquainted 
        with the contents, substance, purport, effect, or meaning of such 
        communication (or any part thereof) knowing that such           
        communication was intercepted, shall divulge or publish the     
        existence, contents, substance, purport, effect, or meaning of such 
        communication (or any part thereof) or use such communication   
        (or any information therein contained) for his own benefit or for 
        the benefit of another not entitled thereto.                    

In TKR Cable Co. v. Cable City Corp., 267 F.3d 196, 207 (3d Cir. 2001), the Third Circuit stated 
that liability under Section 605 applies to “the interception of satellite transmissions ‘to the 
extent reception or interception occurs prior to or not in connection with, distribution of the 
service over a cable system,’ and no more.” (quoting H.R.Rep. No. 98-934, at 83, reprinted in 
1984 U.S.C.C.A.N. at 4720). The Court of Appeals found that 47 U.S.C. § 553 and 47 U.S.C. § 
605 are mutually exclusive provisions, noting that “[o]nce a satellite transmission reaches a cable 
system’s wire distribution phase, it is subject to § 553 and is no longer within the purview of § 
605.” Id. at 207. In sum, § 553 covers interceptions of programming transmitted through cable 
wire while § 605 covers interceptions of programming transmitted through air, including those 
transmitted through satellite signal. To prevail on a claim under § 605, Plaintiff must prove that 
Defendants “received,” “assisted in receiving,” or “intercepted” Plaintiff’s satellite transmission 
and used such communication for a benefit that they were not entitled to. 
   Plaintiff moves for default judgment under § 605(a) only, and therefore must establish 
that Defendants intercepted the broadcast through an airborne transmission. Because Defendants 
failed to answer or otherwise respond to the Complaint, the Court will look to and accept as true 
the facts pled in the Complaint. The Court will use these facts to determine whether the elements 
of a violation under § 605(a) have been met.                              
   The facts alleged in Plaintiff’s complaint and supporting affidavits establish that 
Defendants received and/or intercepted the Broadcast without proper authorization. The 
Broadcast originated via satellite uplink and was transmitted to cable systems and satellite 
companies via satellite signal. Thereafter, Defendants exhibited the Broadcast to patrons at 
Mancora Lounge, a commercial establishment. By exhibiting the Broadcast within this 
commercial establishment without paying the required licensing fee, Defendants obtained a 
benefit that they were not entitled to. Defendants’ illicit transmission of the Broadcast through 
satellite signal places Defendants’ conduct under the purview of § 605(a), as opposed to § 553. 

Based on Defendants’ unauthorized acquisition of the Broadcast and subsequent exhibition of 
same, the Court finds that the uncontested facts presented by Plaintiff adequately establish a 
claim under 47 U.S.C. § 605(a).                                           
   Plaintiff also seeks default judgment as to its claim of copyright infringement, in 
violation of 17 U.S.C. § 501(a). In its uncontested Complaint, Plaintiff asserts that it is the owner 
of the copyright of the Broadcast, and that Certification of Registration was filed with the United 
States Copyright Office on January 14, 2019 under Registration Number PA0002139144. 
(Compl. ¶ 37.) According to the Complaint, Plaintiff holds exclusive broadcast and commercial 
distribution rights under its copyright. (Compl. ¶ 38.)                   

   “Federal copyright law creates a cause of action against ‘[a]nyone who violates any of the 
exclusive rights of the copyright owner.’” Star Pac. Corp. v. Star Atl. Corp., 574 Fed. Appx. 225, 
229 (3d Cir. 2014) (citing 17 U.S.C. § 501(a)). In the matter at bar, the Court accepts the 
allegations of the Complaint as true and finds that, as copyright holder of the Broadcast, Plaintiff 
“has rights to the Broadcast, including the right of distribution as well as the licensing to 
commercial establishments for the right to exhibit same.” (Compl. ¶ 38.) Defendants “never 
obtained the proper authority or license from Plaintiff . . . to publicly exhibit” the Broadcast, and 
intercepted and exhibited same in Defendants’ commercial establishment, namely Mancora 
Lounge. (Compl. ¶ ¶ 39-40.) Based on this conduct, the Court finds that Defendants infringed 
upon Plaintiffs exclusive broadcast and commercial distribution rights under its copyright, in 
violation of 17 U.S.C. § 501(a).                                          
   IV.  DAMAGES                                                         
   Plaintiff seeks an award of statutory damages, enhanced damages and attorneys’ fees and 
costs amounting to $77,634.01 against each defendant.                     

   47 U.S.C. § 605(e)(3)(C)(i)(II) allows courts to award statutory damages “as the court 
considers just.” Section 605 allows for a statutory award “in a sum of not less than $1,000 or 
more than $10,000” and allows for enhanced damages for willful violations. 47 U.S.C. § 
605(e)(3)(C)(i)(II). Under 17 U.S.C. § 504(c)(1), courts may award statutory damages “in a sum 
of not less than $750 or more than $30,000” upon a finding of copyright infringement. In its 
discretion, the court may increase the statutory damages to no more than $150,000 if it finds that 
the copyright infringement was committed willfully. 17 U.S.C. § 504(c)(2). 
   Here, Plaintiff seeks, in total, $75,000 in statutory damages and enhanced damages 
against each defendant. Specifically, Plaintiff requests that the Court enter judgment against each 

defendant in the amount of $10,000 pursuant to 47 U.S.C. § 605(e)(3)(C)(i)(II) and $15,000 
pursuant to 17 U.S.C. § 504(c)(1). Plaintiff also seeks $20,000 for Defendants’ willful violation 
of 47 U.S.C. 605(a) and $30,000 for Defendants’ willful violation of 17 U.S.C. § 501. See 47 
U.S.C. § 605(e)(3)(C)(ii); 17 U.S.C. § 504(c)(2).                         
   Courts have wide discretion in determining appropriate statutory damage awards. See 
Broadcast Music, Inc. v. Crocodile Rock Corp., 634 Fed. Appx. 884, 885 (3d Cir. 2015). When 
assessing statutory damages in piracy cases similar to the matter at bar, courts consider actual 
damages suffered by plaintiffs as well as the need for deterrence. See J &amp; J Sports Prods. v. 
Edrington, No. 10-3789, 2012 U.S. Dist. LEXIS 20505, at *8 (D.N.J. Feb. 16, 2012) (citing 
Comcast Cable Comm. v. Bowers, No. 06-1664, 2007 U.S. Dist. LEXIS 38513, at *12 (D.N.J. 
May 25, 2007)) (“Courts in this District have awarded statutory damages in excess of actual 
damages for the purpose of deterrence.”). Additionally, District Courts in the Third Circuit 
evaluate several factors when determining whether to reward enhanced damages under 47 U.S.C. 
§ 605. Specifically, courts have considered whether defendants regularly engage in similar 

conduct, whether defendants reaped financial benefits from the unlawful exhibition of the subject 
broadcast, whether the plaintiff suffered substantial actual damages, whether the defendants 
advertised the exhibition of the broadcast, and whether the defendants charged a cover fee or 
premiums on food and drink during the broadcast of the event. See Joe Hand Promotions, Inc. v. 
Waldron, No. 11-849, 2013 U.S. Dist. LEXIS 34567, at *27-28 (D.N.J. Mar. 13, 2013) (citing 
Kingvision Pay-Per-View Ltd. v. Rodriguez, No. 02-7972, 2003 U.S. Dist. LEXIS 2674, at *2 
(S.D.N.Y. Feb. 25, 2003)).                                                
   Here, the Court has found that Plaintiff is entitled to statutory damages as Plaintiff has 
established that Defendants violated 47 U.S.C. § 605(a) and 17 U.S.C. § 501.  Defendants  

exhibited the Broadcast at Mancora Lounge on October 12, 2018.  The Court finds that Plaintiffs 
are entitled to an award of statutory damages only in the amount of $6,500 and finds that an 
award for enhanced damages is unwarranted.  Such an award adequately compensates Plaintiff 
for the actual damages incurred and will serve to deter potential offenders. Accordingly, the 
Court will award judgments against Defendants, jointly, in the amount of $3,250, pursuant to 47 
U.S.C. § 605(e)(3)(C)(i)(II), and in the amount of $3,250, pursuant to 17 U.S.C. § 504(c)(1), for 
a total award of $6,500 in statutory damages.                             
   47 U.S.C. § 605(e)(3)(B)(iii) and 17 U.S.C. § 505 both allow for the recovery of 
attorneys’ fees and costs. In total, Plaintiff seeks $2,634.01 against each Defendant for attorneys’ 
fees and costs. Counsel submitted an affidavit documenting the basis for this sum, including a 
detailed history of the hours billed by members of the Lonstein Law Office, as well as other costs 
incurred while preparing and investigating this action.                   
   Having found Defendants in violation of both 47 U.S.C. § 605(a) and 17 U.S.C. § 501(a), 
the Court will award reasonable attorneys’ fees and costs to Plaintiff. Based on the Court’s 

review of counsel’s affidavit, the court will enter judgment against Defendants, jointly, for a total 
award of $2,634.01 for the recovery of attorneys’ fees and costs.         
   V.   CONCLUSION                                                      
   For the foregoing reasons, the Court will grant Plaintiff’s motion for default judgment. 
An appropriate Order will be filed.                                       
                                         s/ Stanley R. Chesler          
                                    STANLEY R. CHESLER                  
                                   United States District Judge         

Dated:  November 20, 2019                                                 